        Case 6:21-cv-01100-EFM          Document 98       Filed 11/01/22      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

PROGENY,                                     )
a program of Destination Innovations Inc.,   )
CHRISTOPHER COOPER,                          )
ELBERT COSTELLO,                             )
MARTEL COSTELLO, and                         )
JEREMY LEVY, JR.,                            )
on behalf of themselves                      )
and others similarly situated,               )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           )              Case No. 6:21-cv-01100-EFM-ADM
                                             )
CITY OF WICHITA, KANSAS,                     )
                                             )
        Defendant.                           )

      PLAINTIFFS’ NOTICE OF ORAL AND VIDEOTAPED DEPOSITION OF JEFF
      GILMORE PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(B)(1)

To:     City of Wichita, Kansas, by and through its attorneys of record:

        David R. Cooper                                     Jennifer L. Magaña
        Charles E. Branson                                  Sharon L. Dickgrafe
        Fischer, Patterson, Sayler & Smith,                 City Hall – 13th Floor
        LLP                                                 455 North Main
        3550 S.W. 5th Street                                Wichita, Kansas 67202
        Topeka, Kansas 66606

        PLEASE TAKE NOTICE that Plaintiffs, Progeny, a program of Destination Innovations

Inc., Christopher Cooper, Elbert Costello, Martel Costello, and Jeremy Levy, Jr. on behalf of

themselves and others similarly situated by agreement with Defendant City of Wichita, Kansas,

will take the deposition upon oral examination of Jeff Gilmore pursuant to FED. R. CIV. P. 30(b)(1)

and by order of this Court. The deposition will take place on December 6, 2022 beginning at 8:30

am and will be an oral examination taken before an officer duly authorized by law to take

testimony and administer oaths and will continue from day to day, excluding Saturdays, Sundays,

and holidays, until completed. The testimony will be recorded by sound, visual, and stenographic
       Case 6:21-cv-01100-EFM           Document 98        Filed 11/01/22       Page 2 of 3




means. The stenographic means may include the use of an instant visual display of the deposition

transcripts. The deposition may be used for all purposes, including use at trial.

Dated: November 1, 2022                               Respectfully submitted,

                                                      SHOOK, HARDY & BACON LLP

                                                      /s/ Mitchell F. Engel
                                                      Mitchell F. Engel KS #78766
                                                      Thomas J. Sullivan (admitted pro hac vice)
                                                      Jordan C. Baehr KS #27213
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                                                      jbaehr@shb.com
                                                      pvogel@shb.com

                                                      KANSAS APPLESEED CENTER FOR
                                                      LAW AND JUSTICE, INC.

                                                      /s/ Teresa A. Woody
                                                      Teresa A. Woody KS #16949
                                                      Nicolas Shump (admitted pro hac vice)
                                                      211 E. 8th Street, Suite D
                                                      Lawrence, KS 66044
                                                      Phone: (785) 251-8160
                                                      twoody@kansasappleseed.org

                                                      AMERICAN CIVIL LIBERTIES UNION
                                                      FOUNDATION OF KANSAS

                                                      /s/ Sharon Brett
                                                      Sharon Brett KS #28696
                                                      Kayla DeLoach KS #29242
                                                      6701 W. 64th St, Suite 210
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                                                      COUNSEL FOR PLAINTIFFS,
                                                      INDIVIDUALLY AND ON BEHALF OF
                                                      ALL OTHERS SIMILARLY SITUATED
     Case 6:21-cv-01100-EFM         Document 98       Filed 11/01/22     Page 3 of 3




                             CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of November, 2022, a true and correct copy of

the foregoing document was electronically served on counsel of record.


                                          BY: /s/ Mitchell F. Engel
                                              Mitchell F. Engel
